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 9                               UNITED STATES DISTRICT COURT

10                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
                                         OAKLAND DIVISION
12

13   IN RE: SOCIAL MEDIA ADOLESCENT                  )   Case No.: 4:22-MD-03047-YGR
     ADDICTION/PERSONAL INJURY                       )
14   PRODUCTS LIABILITY LITIGATION                   )   MDL No. 3047
                                                     )
15                                                   )   Honorable Yvonne Gonzalez Rogers
16                                                   )
     THIS DOCUMENT RELATES TO:                       )   DEFENDANTS’ UNOPPOSED
17   ALL ACTIONS                                     )   ADMINISTRATIVE MOTION FOR
                                                     )   LEAVE TO FILE SUPPLEMENTAL
18                                                   )   AUTHORITY
                                                     )
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     DEFENDANTS’ UNOPPOSED ADMINISTRATIVE MOTION                          CASE NO.: 4:22-MD-03047-YGR
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 1          Pursuant to Civil Local Rules 7-11 and 7-3(d), Defendants Snap Inc.; Meta Platforms, Inc.

 2   f/k/a Facebook, Inc., Facebook Holdings, LLC, Facebook Operations, LLC, Facebook Payments,

 3   Inc., Facebook Technologies, LLC, Instagram, LLC, Siculus, Inc., and Mark Elliot Zuckerberg;

 4   TikTok Inc., ByteDance Inc., ByteDance Ltd., TikTok Ltd., and TikTok, LLC; and YouTube, LLC

 5   and Google LLC (collectively referred to hereinafter as “Defendants”) submit this Unopposed

 6   Administrative Motion for Leave to File Supplemental Authority to bring to the Court’s attention

 7   the recent ruling in NetChoice, LLC v. Reyes, No. 2:23-cv-00911-RJS-CMR, 2024 WL 4135626

 8   (D. Utah Sept. 10, 2024). Defendants submit Reyes (see id. at *8-16) in support of their First

 9   Amendment arguments raised in the following motions: (1) Defendants’ Joint Motion to Dismiss

10   Pursuant to Rule 12(b)(6) Plaintiffs’ Non-Priority Claims (ECF No. 516); and (2) Defendants’

11   Motion to Dismiss the School District and Local Government Entities’ Master Complaint (ECF No.

12   601). A copy of Reyes, which was issued after the completion of briefing and argument on the

13   motions listed above, is attached as Exhibit A.

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 1   Dated: September 12, 2024                     Respectfully submitted,

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     DEFENDANTS’ UNOPPOSED ADMINISTRATIVE MOTION    -4-                    CASE NO.: 4:22-MD-03047-YGR
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 1                                      SIGNATURE ATTESTATION

 2          I hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence to the filing of this

 3   document has been obtained from each signatory hereto.

 4                                                      /s/ Brian M. Willen
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